          Case 2:18-cv-03208-PD Document 25 Filed 08/27/18 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                               :
PENNSYLVANIA, et al.,                         :
               Plaintiffs,                    :
       v.                                     :       Civ. No. 18-3208
                                              :
DEFENSE DISTRIBUTED, et al.,                  :
               Defendants.                    :

                                         ORDER

       AND NOW, this 27th day of August, 2018, it is hereby ORDERED that the CLERK

OF COURT shall PLACE the above-captioned matter in the Civil Suspense Docket, and

MARK the case as closed for statistical purposes pending the outcome of proceedings related to

Defendants in Washington v. United States Dep’t of State, Civ. No. 18-1115 (W.D. Wash. filed

July 30, 2018).


                                                         AND IT IS SO ORDERED.

                                                         /s/ Paul S. Diamond
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                                                         Paul S. Diamond, J.
